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IN THE uNITED sTATEs DISTRICT cotm'r
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U'NITED S'I`ATES OE' AMERICA
Plaintiff,

VS. CR. NO. 05-20256-Ml

MICHELLE TURNEY THURLOUGH

Defendant.

 

ORDER ON CHANGE OF PLEA

 

This cause came to be heard on September 1, 2005, the United States
Attorney for this district, Joseph Murphy for Stephen Parker, appearing for
the Government and the defendant Michelle Turney Thurlough appearing in
person and with counsel, Scottie Wilkes, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty as to Count l of the
Indictment.

Plea colloquy was held and the Court accepted the guilty plea.

SEN'TENCING in this Case is SET for FRIDAY, DECEMBER 2, 2005, at 2:30
p.m., in Courtroom No. 4, on the 9ch floor before Judge Jon Phipps McCalla.

Defendant is allowed to remain released on present bond.

ENTERED this the l day Of September, 2005.

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JON PHIPPS McCALLA
UN TED STATES DISTRICT JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20256 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

Stephen C. Parker

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Honorable J on McCalla
US DISTRICT COURT

